                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION

 Donald J. Trump, Candidate for President                       )
 of the United States of America,                               )
                                                                )
                                                                )
                Plaintiff,                                      )
                                                                )
 vs.                                                            ) Case No. 2:-20-cv-01785-BHL
                                                                )
                                                                )
 The Wisconsin Elections Commission, and its                    )
 members, Ann S. Jacobs, Mark L. Thomsen,                       )
 Marge Bostelman, Dean Knudson, Robert F.                       )
 Spindell, Jr., in their official capacities, Scott             )
 McDonell in his official capacity as the Dane                  )
 County Clerk, George L. Christenson in his                     )
 official capacity as the Milwaukee County Clerk,               )
 Julietta Henry in her official capacity as the                 )
 Milwaukee Election Director, Claire Woodall-                   )
 Vogg in her official capacity as the Executive                 )
 Director of the Milwaukee Election Commission,                 )
 Mayor Tom Barrett, Jim Owczarski, Mayor Satya                  )
 Rhodes-Conway, Maribeth Witzel-Behl, Mayor                     )
 Cory Mason, Tara Coolidge, Mayor John                          )
 Antaramian, Matt Krauter, Mayor Eric Genrich,                  )
 Kris Teske, in their official Capacities; Douglas J.           )
 La Follette, Wisconsin Secretary of State, in his              )
 official capacity, and Tony Evers, Governor of                 )
 Wisconsin, in his Official capacity.                           )
                                                                )
                                                                )
                Defendants.


                                 PLAINTIFF’S EXHIBIT LIST

       Plaintiff Donald J. Trump, by counsel, identifies the exhibits he presently intends to use

at the hearing in this matter pursuant to paragraph 1 of the Court’s Order Establishing Exhibit

Procedures of December 8, 2020 (Doc. 63). Plaintiff presently expects to offer the following

exhibits:



            Case 2:20-cv-01785-BHL Filed 12/09/20 Page 1 of 5 Document 117
                                           Exhibits

1    Assembly Speaker Calls for Investigation of Wisconsin Election
2    Guidance Indefinitely Confined Electors, Wisconsin Election Commission – March 29, 2020
3    Scott McDonell Facebook post regarding important voting information
4    Absentee Voters in Milwaukee, Dane Counties can say they’re ‘Indefinitely Confined’ and skip
     photo ID, clerks say, Milwaukee Journal Sentinel – March 25, 2020 updated March 26, 2020
5    Rep. Jim Steineke and Sen. Roger Roth: All mail ballot proposal: return to sender, State Journal
     – Apr. 20, 2020
6    Republicans say thousands in Wisconsin may have circumvented voter ID requirement, by
     Zackary Halaschak Breaking News Reporter – Nov. 10, 2020
7    Report of Commission on Federal Election Reform – Sept. 2005
8    Federal Prosecution of Election Offenses – Dec. 2017
9    Voting Fraud is a Real Concern, Opinion by John R. Lott, Jr., President, Crime Prevention
     Research Center – August 4, 2020
10   As More Vote by Mail, Faulty Ballots Impact Election, New York Times
11   Top Battlegrounds Page, RealClear Politics
12   Wisconsin Safe Voting Plan, Center for Tech and Civic Life – June 15, 2020
13   Absentee Drop Box Guidance, Wisconsin Elections Commission – August 19, 2020
14   Absentee Drop Box Information, Wisconsin Elections Commission – August 19, 2020
15   Ballot Drop Box, CISA
16   Ballot Drop Boxes offer a “Safe Place” for voting, Wisconsin Center for Investigative
     Journalism
17   Search for a Ballot Drop Box using this Tool, Wisconsin Watch
18   Drop Box List, Wisconsin Elections Commission
19   Drop Box Information, Hayward Wisconsin, Wisconsin Watch
20   Drop Box Menasha Library, Wisconsin Watch
21   Drop Box Information City of Vermont Dane County, Wisconsin Watch
22   Drop Box Information Village of DeForest Dane County, Wisconsin Watch
23   Drop Box Information Village of Boyd, Wisconsin Watch
24   Milwaukee gears up for historic election in which 70% of voters may not cast a ballot,
     Milwaukee Journal Sentinel – Sept. 15, 2020
25   Milwaukee Absentee Ballot Drop Boxes Replaced this Week with Permanent Versions,
     Milwaukee Journal Sentinel – Oct. 27, 2020
26   City of Madison Unveils Secure Absentee Ballot Drop Boxes, City of Madison Clerk – October
     16, 2020
27   Drop Box Information City of Madison Dane County, Wisconsin Watch
28   CTCL partners with 5 Wisconsin cities to Implement Safe Voting Plan, Center for Tech and
     Civic Life – July 7, 2020
29   Voter turnout in Madison, Dane County Surpasses record 2016 Numbers, City of Madison by
     Vanessa Reza – Nov. 4, 2020
                                        2
          Case 2:20-cv-01785-BHL Filed 12/09/20 Page 2 of 5 Document 117
30   84% of registered voters in Green Bay voted in election, Green Bay Press- Gazette - Nov. 3,
     2020 updated Nov. 4, 2020
31   CTCL Receives 250M Contribution to Support Critical Work of Election Officials from Priscilla
     Chan and Mark Zuckerberg, Center for Tech and Civic Life – Sept. 1, 2020
32   WEC Prepares for Fall Elections by Approving Block Grants to Municipalities and Mailing to
     Voters, Wisconsin Elections Commission- May 29, 2020
33   Affidavit of Bartholomew R. Williams and Jean M. Bury Weymier
34   Affidavit of Anne Marie Klobuchar
35   Spoiling Absentee Ballot Guidance, Wisconsin Elections Commission – Oct. 19, 2020
36   Uniform Instructions for Wisconsin Absentee Voters, Wisconsin Elections Commission
37   What Poll Watchers Can and Can’t do at Wisconsin Voting Sites, Milwaukee Journal Sentinel –
     Oct. 20, 2020
38   Affidavit of Beth A. Brown
39   Affidavit of Mary Angelina Horn
40   Affidavit of Charles A. Armgardt
41   Affidavit of Steven S. Goetz
42   Affidavit of Lana Sloane
43   Affidavit of Kyle Hudson
44   Affidavit of Jeremy Bowers
45   Q&A with Meagan Wolfe, The Capitol Times – Sept. 8, 2020
46   WEC CARES Subgrant Program Announcement – June 17, 2020
47   Article and Photograph of Oshkosh City Hall, Oshkosh Northwestern - Oct. 18, 2020
48   Photograph of Oshkosh City Hall – 2020
49   Madison City Clerk Tweet – Sept. 25, 2020
50   Madison City Clerk Tweet – Sept. 25, 2020
51   Not Used
52   Wisconsin Republicans tried to stifle plan, Business Insider – Sept. 26, 2020
53   City of Madison PowerPoint Presentation on Democracy in the Park - Fall 2020
54   Photograph of Duffle Bags from City of Madison PowerPoint Presentation on Democracy in the
     Park - Fall 2020
55   Madison’s “Democracy in the Park” Event Seems Legal, Says Top Elections Official, Spectrum
     News 1 – Oct. 1, 2020
56   Video from Madison’s “Democracy in the Park” Event Seems Legal, Says Top Elections
     Official, Spectrum News 1 – Oct. 1, 2020
57   Photograph of Madison’s “Democracy in the Park” Event Seems Legal, Says Top Elections
     Officials, Spectrum News 1 – Oct. 1, 2020
58   Absentee Ballot Drop Boxes Available at 15 locations across the City, Including 13 Milwaukee
     Public Library Branches, City.Milwaukee.gov, Press Release – Sept. 10, 2020
59   Madison Receives Nearly 11K Absentee Ballots at Collection Event, Wisconsin Public Radio –
     Sept. 28, 2020
60   City’s Ballot Boxes Getting Heavy Use, Urban Milwaukee – Oct. 6, 2020
                                                3
          Case 2:20-cv-01785-BHL Filed 12/09/20 Page 3 of 5 Document 117
61     Committee moves forward with grants to help bolster voting access, security,
       City.Milwaukee.gov, Common Council Press Release – July 21, 2020
62     Affidavit of Claire Woodall-Vogg – Nov. 27, 2020
63     Milwaukee Election Results Expected Around 4 a.m., Urban Milwaukee – Nov. 3, 2020
64     Milwaukee’s Central Count facility will tabulate votes in three shifts on Election Day,
       Milwaukee Journal Sentinel – Nov. 1, 2020
65     Audio for Radio Ad for Democracy in the Park by Joe Biden for President
66     Plaintiffs Submission of Excerpts from Wisconsin Election Code
67     Wisconsin Elections Commission Question and Answers with Clerks
68     WEC’s Responses to Plaintiff’s Requests for Admissions and Document Requests
69     Tweet by Madison Clerk identifying ballots returned via drop box Oct. 28, 2020
70     “Organizing and Processing Absentee Ballots” Screenshot from WEC Training Video
71     “WEC Clerks Training Video 2020”
72     WEC Response to Discovery Request No. 1 Concerning Absentee Ballot Drop Boxes – Sept. 26,
       2020
73     WEC Response to Discovery Request No. 2 Concerning Altering Absentee Ballot Certifications
       – Sept. 18, 2020
74     WEC Response to Discovery Request No. 3 Concerning Public Access
75     Affidavit of David Bolter

           As specified in the Court’s Order, the foregoing list does not include exhibits that may be

 relied upon for impeachment or rebuttal nor does it include demonstrative aids or summaries.

 Plaintiff further reserves the right to rely upon any matter as to which the Court may take judicial

 notice.

                                                Respectfully Submitted,

                                                KROGER, GARDIS & REGAS, LLP

                                                /s/ William Bock, III
                                                William Bock III, Indiana Attorney No. 14777-49
                                                James A. Knauer, Indiana Attorney No. 5436-49
                                                Kevin D. Koons, Indiana Attorney No. 27915-49

                                                ATTORNEYS FOR PLAINTIFF DONALD J. TRUMP

 KROGER, GARDIS & REGAS, LLP
 111 Monument Circle, Suite 900
 Indianapolis, IN 46204
 Phone: (317) 692-9000


                                            4
              Case 2:20-cv-01785-BHL Filed 12/09/20 Page 4 of 5 Document 117
                               CERTIFICATE OF SERVICE

       A copy of the foregoing document was served upon all parties’ counsel of record via this
Court’s CM/ECF service on this 9th day of December, 2020.


                                            /s/ William Bock, III




                                        5
          Case 2:20-cv-01785-BHL Filed 12/09/20 Page 5 of 5 Document 117
